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Visits to Life Cycle OBGYN, LLC Prior To Birth
March 2014

Early March:
Patient Tamica Moore experienced severe swelling, complications with lower
abdomen pain and severe spasms. These complaints were verbalized to midwives

Sarah, Ann and Debra of Life Cycle OBGYN, LLC.

Mid-March:

Tamica Moore expresses to midwives Sarah and Ann that she is experiencing
extreme pressure, swelling, water retention and increased amounts of aggressive,
consistent, severe, harassing pain and pressure that is abnormal to her pregnancy
trend. After expressing these complaints, no tests were administered nor were
there any investigations into her accelerated weight gain. After midwife Sarah
measured Tamica Moore, she informed her that she was going to have a large
baby boy and the estimated birth would be 10-11 pounds. At that moment,
Tamica Moore expressed her concern to midwife Sarah about a vaginal delivery of
such a large baby because her last and largest baby weighed 7 pounds, 2 ounces
and there was some vaginally taring. Sarah responded to Tamica Moore that she
could deliver a baby of that size because she had just previously vaginally
delivered a baby weighing close to 11 pounds. Tamica Moore expressed to
midwife Sarah that she would like for her to highly consider another birthing plan
and if a C- section could be that birthing plan. However, midwife Sarah was
adamant about a vaginal delivery for Tamica Moore,

Visits to Southern Regional Hospita| Prior To and During Birth
April 2014

Agril 7l 2014:
Patient Tamica Moore began experiencing pain and extreme discomfort. At which

time, she went to Life Cycle OBGYN. At this visit, midwife Sarah scheduled to
induce labor on April 11, 2014 at Life Cycle OBGYN's affiliated hospital, Southern
Regional Hospital.

April 9l 2014:
Patient Tamica Moore experienced severe contractions and discomfort at home.

So she went to Life Cycle OBGYN's affiliated hospital, Southern Regional Hospital.

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Upon arriving at the hospital, Tamica Moore was admitted in the labor and
delivery emergency care at Southern Regional Hospital. Tamica Moore was
monitored and tested to see the progression of her labor at the time of
admission. Tamica Moore was 3 cm dilated and within an hour she was 5.5 cm
dilated with mucus plug discharge. At that time, Southern Regional Hospital's
nurse strongly suggested that Tamica Moore should leave because she was not
considered to be in active labor. And that the labor and delivery emergency care
at Southern Regional Hospital did not have enough beds or nurses to attend to
her.

April 11l 2014:
Tamica Moore received a call from Labor and Delivery at Southern Regional

Hospital for her appointment for induction. The Southern Regional Hospital nurse
stated there was a bed available now, and asked if she would like to come sooner,
instead of her appointed time at 9:00 pm. Tamica Moore agreed to come before
here 9:00pm appointment and was admitted at 11:17 am. At the time of Tamica
Moore's admission, she was approximately 6.5-7.0 cm dilated and was
transported to the Labor and Delivery Room.

11:54 am

The monitor strips indicate that the FHT have decelerations, Nurse Andrea and
Jesse (both of Southern Regional Hospital) review strips and give Tamica Moore
an increased amount of Pitocin to speed up the pace of delivery.

3:47 pm

Nurse McDaniel of Southern Regional Hopsital continues to ask if Tamica Moore
wants an Epidural for pain. Tamica Moore continues to decline and states she
wants to stick to her birthing plan, without Epidural. Nurse McDaniel continues to
state the need for the epidural, Tamica Moore continues to decline. Tamica
Moore is measured and is at 8 cm dilated; once again, nurse McDaniel asks
Tamica Moore if she would like to get the epidural, Tamica Moore continues to
decline. Tamica Moore asks if the Epidural will be appropriate to get because of
how close she is to delivery. Nurse McDaniel continues to persist without
informing Tamica Moore of potential risks, Nurse McDaniel then states that if
Tamica Moore is considering getting the epidural, then she should get it now!
Tamica Moore hesitantly agreed to the epidural.

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3:57 pm

Anesthesiologist came in for epidural consultation because of the request for
epidural; at injection, the Anesthesiologist punctured two - three nerves in
unsuccessful attempts. The fourth attempt was successful and the epidural had
been administered.

4:05 pm (approx.)

Complete dilation, Tamica Moore felt the need to push at 9.5 cm and only Nurse
Andrea orJesse was present. No other medical official was present in the room at
the time, nor had any medical official been present in the progression of labor. So
Nurse Andrea or Jesse informed patient to wait if she could.

4:10 pm (approx.)

Midwife Sarah of Life Cycle OBGYN, LLC has been called. Nurse Andrea or Jesse
continues to assist Tamica Moore, still without the arrival of any other medical
official. The baby head has crowned, his face is visible up to his nose.

4:15-4:20 pm (approx.)

Midwife Sarah arrives with the company of another Midwife. They began to dress
themselves in medical garments at the entrance of the Labor and Delivery Room.
Midwife Sarah then puts her hand over vaginal area and discourages Tamica
Moore to push, and prevents the arrival of the baby.

|n a frenzy of panic, midwife Sarah, another Mid-wife, and an entou rage of nurses
recognize that the baby was not progressing at the pace of a normal delivery.
Sarah instructs Tamica Moore to push harder, more, and longer. Still with no
progression, midwife Sarah then states that Tamica Moore was not trying her
hardest, or giving her best. After 5~7 minutes at this current standstill, midwife
Sarah then cuts the vaginal area of Tamica Moore, with no results. Midwife Sarah
grabs the baby's head and proceeds to pull him out; with no avail she calls for the
entourage of nurses to attempt maneuvers multiple times. Once of the nurses of
Southern Regional were assigned by midwife Sarah to go near the head of Tamica
Moore pushing in a downward motion on her stomach. The other two nurses of
Southern Regional were assigned by midwife Sarah to Tamica Moore's side
pushing in a downward motion, in a panicked, chaotic way. The trauma, panic,
and fear witnessed by Mr. Tarcace Bostic the husband and father of the unborn
child caused him to leave the room.

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Midwife Sarah continued maneuvers, delivery of left anterior shoulders,
unsuccessful. Then attempts to rotate baby LOA, the baby's head is still out,
without him (baby) being monitored.

Now Dr. Jones (a contracted doctor of Southern Regional Hospital) has been
paged for assistance.

Midwife Sarah continues maneuvers to deliver shoulder with continued
suprapubic pressure. Dr. Jones now arrives to the room. Under the leadership of
Dr. Jones, Dr. Jones continues to maneuver baby unsuccessfully. Dr. Jones
instructs to take patient to the O.R. immediately and relates to patient this is an
emergent situation, and without informing Mr. Bostic.

4:25 pm (approx.)
Arrival to O.R. with baby's head still outside the birth canal and continued
attempts of maneuvers, which are unsuccessful.

4:30 pm
Anesthesia for Tamica Moore begins

4:37 pm
Surgery begins for C-Section incision

4:42 pm

The C-section incision initiated by Dr. Jones begins first by the attempting to place
the baby's head back inside birth canal, attempt unsuccessful: Attempts to rotate
shoulder from abdomen while midwife Sarah gave downward traction with left
anterior shoulder. Anterior shoulder released. Vaginal delivery performed, by Dr.
Jones with C-section incision, Dr. Jones places hand inside incision and pushes the
baby out with hand through the birth canal, and baby exits vaginal|y.

Baby is delivered vaginally at approximately 4:42pm.

Baby was not monitored for 20 minutes while he was stuck, no heart rate, no
spontaneous respiration and is placed on open warmer.

Baby requires an immediate handoff to N|CU team in O.R.

4:43 pm
lntubated.

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4:44 pm
Chest compression started PPV.

4:45 pm
Heart Rate absent on auscultation, chest compression and PPV continues.

4:47 pm

Heart Rate absent on auscultation and Code is called by Dr. Ade.

Nurse comes outside of the O.R. frantic, crying hysterically and informs Mr. Bostic
the baby is dead and has no heart rate.

Nurse returns to O.R.

4:51 pm

Cord noted to be pu|sating HR>100 infant is transported to N|CU.

At birth, baby was not breathing and did not have a heart rate for a total of 9
minutes, 38 seconds.

The baby was placed on heating and cooling mat therapy for 72 hours and was
diagnosed with M, Erb's Pa|sy resulting in left arm being immobile.

He was hospitalized for about two weeks after birth,

Visits to Southern Regional Hospital and Scottish Rite After Birth
April 2014

April 25l 2014
While at home, the child began to shake and was taken back to Southern Regional

Hospital where he was transferred to Scottish Rite Children's Hospital and given
an N|R|, and EEG which was abnormal, child was having seizure activity. 2 days
later child was discharged.

AQriI 27¢ 2014

Tamica Moore had to go back to Southern Regional Hospital because of an
infection in C-Section scar. WBC 16.1 upon admission, blood transfusion was
needed and administered, a continued stay at Southern Regional Hospital 3-4
days absent of her newborn child.

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Diagnosis of the baby, .Iosyiah Reign Bostic

Josyiah has been diagnosed with Hypoxic-|schemic encepha|opathy (H|E), Erb's
Palsy on the left arm resulting in no oxygen to the brain and severe shoulder
distortion. Josyiah's birth history was taken from epic and parent report and is
significant for birth at 40 weeks gestation, with a birth weight of 10 pounds 1 oz.
resulting in traumatic delivery, which cooperated with fat necrosis because of the
extensive pulling and tearing of his fatty tissues subsequent to his back being
black, blue, purple and lumpy.

Present day effects and care of josyiah Reign Bostic

Josyiah has frequent and constant physical therapy, speech therapy, and
numerous trips to his neurologist. This is a factor of his long-term treatment and
care. He does not use his left arm as frequently as the right. He has severe issues
with physical and motor functions which causes him to have injuries that prohibits
and hinders him from interacting with his siblings and other children. Josyiah is
noticeably behind all developmental strides and normal behaviors of a child his
age and he has shown great difficulty in progressing further. Subsequently, his
parents are forced to limit activities, outings, engagements and exposure to
children. His long-term care requires close monitoring, constant supervision by
parents, physicians, therapists and his neurologist.

As a direct result of the traumatic events occurring there has been a substantial
amount of damages. Non-economic damages, past and future damages,
emotional damages displayed by both parents and the pervious children. Financial
losses, lost wages, physical and psychological harm.

Emotiona| Distress as expressed by Tamica Moore

On April 11, 2014, | felt like there was no way both me and my son was going to
make it alive. lt was either his life or mines and l chose his. Once | felt my child's
head which was hanging outside of my vagina, | knew there was no possibility he
would be the same. He was hanging and not one person was concerned about
him hanging outside of me, his full head. As a mother, | felt powerless, and
stripped of the instinct to nurture and protect my child because there was
absolutely nothing | wouldn't do for him as his mother, |wasn't aware of all that
was happening, but as a mother of three, | knew this was not the natural order of
delivery. | knew this was a tragic and dire situation. This event was one and is the
most traumatic experiences of my life. This was the baby | ecstatically waited to

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meet, the baby l felt grow and develop inside me for nine months, | was having
the son | dreamed of and now | am conflicted if either of us would survive the
ordeal and even if | , or both of us did: What would our livelihood be? Not only
was | panicked, and afraid so was everyone around me. l did not feel like any
medical person present was capable of finding a remedy for this disaster. | was
assaulted by my Mid-wife; not only was she unprepa red, unaware and not
knowledgeable, she made me feel inadequate as a mother aggressively implying |
was not pushing hard enough, long enough, and | was not trying. | felt that every
medical personnel actively participated in this uniformed chaos. The nurse
pressured me into getting an epidural after being 8 cm dilated. The
Anesthesiologist acted incompetently wasting time and puncturing four nerves
before hitting the appropriate nerve during administration ofthe Epidural. The
mid-wife was not aware of the progression of my labor because she was not
available, which resulted in a delay of her arrival and her lack of being prepared.
My son's face is visible up to his nose and she places her hand on me instructing
me not to push, and assaults me when she cannot find a solution. Numerous of
nurses crowd and tower over me pushing, and maneuvering my son as my
husband watches causing him to leave. When he leaves, the only piece of security
| have felt leaves the room as well. After a series of multiple maneuvers and failed
attempts, wasting and prolonging time, midwife Sa rah finally recognizes she is
unable to rectify the situation and she then decides to call for the assistance of a
doctor. When | asked what was going on as midwife Sarah pushes me out of the
room, she informs me this is an emergent situation, not really sure what that
meant, | asked for my husband and she told me harshly not to worry about him,
her exact words were, ”| got to get this baby out.” Arriving at the O.R, l could only
remember my son's head is still hanging outside of me, and his he ok? ls he dead?
He is so close to me | could reach my hand and touch him. Am | going to live? |
remember looking at someone dressed in some type of covering garments and
telling her ”|f you have to choose his life instead of mine, choose hisl" | was not
able to see my son for four days, and | could not touch him for five days. As we
were discharged from the hospital, l was not aware of the extremities of his
diagnosis, nor did | have any knowledge on how to care for him. Soon after we
arrived home, my son began to appear as if he was having a seizure. Once being
admitted to Southern Regional Hospital, he had to be transfer to Scottish Rite
Children's Hospital. Again, | was denied being present with my son because of my
condition. After my son, Josyiah was discharged, | had to go back to Southern
Regional Hospital because of an infection which caused me to have a blood

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transfusion - which | have NEVER had or anticipated having. | was afraid of a blood
transfusion knowing of all the things that could possibly go wrong. And on top of
this, this kept me away from my newborn son for three more days.

My husband, the sole provider, was unable to take time off with pay, causing us
to exasperate our savings and suffer an eviction from our home. | suffered post-
traumatic stress disorder, which caused hair |oss, suicide attempts, dizziness, lack
of consciousness, lack of sexual desire. | have also been fearful of going to a
physician, or doctor offices with mid-wife affiliation. '|'here is still no nerve in
lower abdomen, which is above my C-section incision. This also resulted in an
occasional black tar discharge. A|| areas of my life has been impacted and affected
by this one event. My thinking has changed, my spontaneity, interaction,
relationships, parenting and my body along with sexual interactions with my
husband, has all changed and is forever changed because of this trauma.

Emotiona| Distress as expressed by Mr. Tarcace Bostic:

l witnessed my wife in so much pain, and agony: l seen her hurt, and fear, as a
husband | could not save or rescue her from all of what she fe|t, | was unable to
deliver any support or assistance. l witnessed and watched my sons head stuck in
the vaginal area, the uneasiness | felt witnessing my wife's pain and discomfort
was overwhelming. | felt and saw the chaos, panic and confusion of the nurses
and the mid-wives. They were unsure of what to do for her and my son. l was
alerted that something was not right because this did not occur with delivery of
any of my other children. | knew something was wrong, seeing the nurse's
panicking around the bedside and witnessing the midwife cut my wife and pull my
son's head was traumatic and alarming for me. | witnessed the expressions on my
wife's face, expressions of distraught which became too unbearable. So | decided
exit the room. As | walked the floors of the hall, | witnessed them rolling my wife
to the O.R, hearing my wife ask for me, prompted me to run to her aide, but all l
could hear was the mid-wife saying we had an emergency situation. l was unsure,
uniformed, and unaware of what was happening to my wife, and son which
frightened me. | remained uninformed, unknowledgeab|e for more than twenty
minutes. As a nurse came to me in panic, fear, crying uncontrollably, and
hysterically informing me my son was dead. After | entrusted my wife and son to
their care, this angered me, disappointed me, and saddened me. The medical
officials failed me, my wife and my son. Not only did | suffer this day but days to

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come, rushing my son to the hospital a day after him being discharged from
Southern Regional Hospital because of seizure activity, seeing infection gush and
pour out of my wife's stomach, from a scar the doctors created, and her being
admitted again to their care, was horrible for me and our children. | watched my
wife suffer emotional trauma so bad she wanted to kill herse|f, as a husband | did
not know what to do for her, | took off weeks and weeks of work so that | could
monitor her, my son and our three daughters. | could not leave her by herself not
only was she emotional unstable, suicidal, but she could not remain conscious.

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